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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
11   SANTOS DE LEON III,                    ) Case No. CV 14-1042-MWF (DFM)
                                            )
12                                          )
                        Plaintiff,          ) JUDGMENT
13                                          )
                   v.                       )
14                                          )
     CAROLYN W. COLVIN, Acting              )
                                            )
15   Commissioner of Social Security,       )
                                            )
16                                          )
                        Defendant.          )
17
18
19         In accordance with the Order Accepting Report and Recommendation
20   filed herewith,
21         IT IS HEREBY ADJUDGED that the decision of the Commissioner of
22   Social Security is reversed and this matter is remanded for further
23   administrative proceedings pursuant to sentence four of 42 U.S.C. § 405(g).
24
25   Dated: October 21, 2014
26                                              ______________________________
27                                              MICHAEL W. FITZGERALD
                                                United States District Judge
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